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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



AMERICAN CIVIL LIBERTIES UNION;
ACLU OF MASSACHUSETTS,

                Plaintiffs,
                                                      Case No. 1:12-cv-11776 (LTS)
                         v.

UNITED STATES DEPARTMENT OF
JUSTICE; UNITED STATES DEPARTMENT
OF HOMELAND SECURITY,

                Defendants.



                                   JOINT STATUS REPORT


        Plaintiffs instituted this action pursuant to the Freedom of Information Act (“FOIA”), 5

U.S.C. § 552, to obtain records from various components of the United States Department of

Justice and the Department of Homeland Security (collectively, the “Government”) regarding the

Government’s use and funding of automated license plate readers (“ALPRs”). In compliance

with this Court’s orders issued on July 1, 2015, and July 31, 2015, ECF Nos. 74, 76, the parties

submit this joint status report.

        As described in the parties’ prior status reports, the parties agreed on a schedule

according to which the Government will review records gathered in response to plaintiffs’ FOIA

request and produce responsive records to plaintiffs. Once each component finished production,

plaintiffs have assessed whether there was anything left to litigate as to that component.

        The current status of production and processing is reflected in the following chart:




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 AGENCY          EST. NO. OF                    EST. COMPLETION                STATUS OF
                    PAGES                      AND/OR PRODUCTION              PRODUCTION
               TO BE REVIEWED                         DATE
    ICE        1,500 to 2,000 pages      October 31, 2013                          Complete

    TSA        200 pages                 September 30, 2013                        Complete
    ATF        100 pages                 Search and review done by                 Complete
                                         March 2013, production to
                                         follow
    FBI        5,000 pages               Review 500-600 docs per                  Complete
                                         month, beginning in March
                                         2013, with production
                                         completed by December 31,
                                         2013
   USMS        200 pages                 May 2013                                 Complete
    CBP        Undetermined              December 31, 2013                        Complete
    DEA        Undetermined              Will review approx. 500-800              Complete
                                         records per month, with
                                         production of responsive
                                         documents completed by April
                                         2015

        As stated in the parties’ prior status reports, there is nothing left to litigate as to ICE,

TSA, ATF, FBI, and USMS.

        Plaintiffs have received CBP’s final production. CBP has now completed production, and

there is nothing left to litigate as to CBP.

        The DEA completed production on January 26, 2015. Plaintiffs asked the DEA for

further information regarding portions of certain documents that were redacted as non-

responsive. Plaintiffs agreed to provide the DEA with examples of redacted documents about

which Plaintiffs are seeking further information. The DEA agreed to consider the request and

respond accordingly once it received these examples. Plaintiffs provided the DEA with examples

on March 11, 2015. The DEA reviewed and considered these examples and sent Plaintiffs a

response on June 25, 2015.

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       On July 27, 2015, Plaintiffs sent a letter to the DEA explaining that the ACLU believes

the DEA’s withholding of information as non-responsive when that information is intermingled

with concededly responsive information in the same document violates the agency’s obligations

under FOIA. The letter further informed the DEA that Plaintiffs do not intend to litigate this

issue, but were sending the letter in the hope that it will lead to a voluntary change in the DEA’s

practices in responding to future FOIA requests. Plaintiffs asked counsel for the Government to

provide copies of the letter to appropriate officials within the DEA, as well as to the Department

of Justice’s Office of Information Policy. Counsel for the Government represents that she will do

so. Plaintiffs also will provide a copy of the letter to the Office of Government Information

Services in the National Archives and Records Administration.

       The DEA does not agree with the characterization of DEA’s processing in the ACLU’s

letter, and has conveyed this disagreement to the ACLU.

       Because Plaintiffs have decided not to litigate this issue, there is nothing left to litigate as

to the DEA or any other defendant agency. Accordingly, the parties are prepared to dismiss the

case, and intend to file a stipulation of dismissal by August 11, 2015.

                               Respectfully Submitted,

       /s/ Nathan Freed Wessler                          /s/ Jennifer A. Serafyn
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Dated: August 4, 2015




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                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants via First Class
Mail.

                                                      /s/ Nathan Freed Wessler
                                                      Nathan Freed Wessler


Dated: August 4, 2015




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